Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 1 of 11 PageID #: 768




                         IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF WEST VIRGINIA

  SHAWN G. HARRIS,

                         Petitioner,

  v.                                                    Civil Action No. 5:06CV141
                                                        Criminal Action No. 5:05CR41-01
  UNITED STATES OF AMERICA,                             (JUDGE STAMP)

                         Respondent.

                    REPORT AND RECOMMENDATION
     THAT §2255 MOTION BE DENIED AS TO THREE GROUNDS, SETTING AN
   EVIDENTIARY HEARING ON GROUND ONE, APPOINTING COUNSEL FOR THE
    EVIDENTIARY HEARING AND PROVIDING THAT COUNSEL, PARTIES AND
  WITNESSES MORE THAN 40 MILES FROM THE WHEELING POINT OF HOLDING
       COURT MAY APPEAR BY VIDEO OR TELEPHONE CONFERENCING



                                         I. INTRODUCTION

         On November 20, 2006, pro se petitioner filed a Motion Under 28 U.S.C. § 2255 to

  Vacate, Set Aside or Correct Sentence by a Person in Federal Custody. The Government filed its

  Response January 26, 2007. Petitioner filed a Response to the Government’s Response February

  6, 2007.

                                               II. FACTS

  A.     Conviction and Sentence

         On October 14, 2005, petitioner signed a plea agreement by which he agreed to plead

  guilty to Count One, conspiracy to distribute more than five (5) grams of cocaine base, in

  violation of Title 21, United States Code, Sections 846 and 841(b)(1)(B). In the plea agreement,

  the parties stipulated to the total drug relevant conduct of between thirty-five (35) and fifty (50)

  grams of cocaine base. Additionally, the petitioner waived his right to appeal and to collaterally
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 2 of 11 PageID #: 769




  attack his sentence. Specifically, the petitioner’s plea agreement contained the following

  language regarding his waiver:

                 11.     Mr. Harris is aware that Title 18, United States Code,
                 Section 3742 affords a defendant the right to appeal the sentence
                 imposed. Acknowledging all this, and in exchange for the
                 concessions made by the United States in this plea agreement, if
                 the Court sentences defendant to 97 months or less, defendant
                 knowingly and voluntarily waives the right to appeal his sentence
                 or in the manner in which that sentence was determined on any
                 ground whatever, including those grounds set forth in Title 18,
                 United States Code, Section 3742. The defendant also waives his
                 right to challenge his sentence or the manner in which it was
                 determined in any collateral attack, including but not limited to, a
                 motion brought under Title 28, United States Code, Section 2255
                 (habeas corpus). Correspondingly, the United States waives its
                 right to appeal if the Court sentences the defendant to 78 months or
                 more. Neither of these ranges are representative of defendant’s
                 estimation of a reasonable sentence, nor does this waiver prevent
                 defendant from arguing for a sentence below 78 months.

       On October 16, 2005, the petitioner entered his plea in open court. Petitioner was 31 years

  old and a high school graduate. (Plea transcript p. 4) Petitioner stated he understood and agreed

  with all the terms and conditions of the plea agreement. (Id. at 11) The Court specifically asked

  if petitioner understood the waiver of appellate and post-conviction relief rights. (Id. at 12-13;

  16-17) The Court asked petitioner’s counsel if he believed petitioner understood the waiver of

  appellate and post-conviction relief rights. (Id. at 12) The Court then reviewed all the rights

  petitioner was giving up by pleading guilty. (Id. at 17-20) During the plea hearing, the

  Government presented the testimony of Special Agent Robert Manchas of the United States

  Drug Enforcement Administration to establish a factual basis for the plea. (Id. at 20-22). The

  petitioner did not contest the factual basis of the plea.

       After the Government presented the factual basis of the plea, the petitioner advised the

  Court that he was guilty of Count One of the indictment. (Id. at 23) The petitioner further stated




                                                     2
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 3 of 11 PageID #: 770




  under oath that no one had attempted to force him to plead guilty. (Id.) In addition, he testified

  that the plea was not the result of any promises other than those contained in the plea agreement.

  (Id.) The petitioner testified that his attorney had adequately represented him, and that his

  attorney had left nothing undone. (Id. at 24) Finally, petitioner said he was in fact guilty of the

  crime to which he was pleading guilty (Id.)

       At the conclusion of the hearing, the Court determined that the plea was made freely and

  voluntarily, that the petitioner understood the consequences of pleading guilty; and that the

  elements of Count One were established beyond a reasonable doubt. (Id. at 24-25) The

  petitioner did not object to the Court’s finding.

         On December 12, 2005 and December 16, 2005, the petitioner appeared before the Court

  for sentencing. After considering several factors, including the circumstances of both the crime

  and the defendant, and the sentencing objectives of punishment, the Court sentenced the

  petitioner to a term of 57 months imprisonment.

  B.     Appeal

         Petitioner did not file an appeal of his conviction or sentence.

  C.     Federal Habeas Corpus

         On November 20, 2006, petitioner initiated this case under § 2255. In the motion, the

  petitioner asserts that his counsel was ineffective for failing to file a notice of appeal upon his

  request. He further contends that his counsel was ineffective for not obtaining further sentence

  reductions per Rule 35 for petitioner’s substantial assistance to the Government. Petitioner

  contends that his sentence should be reduced under a potential new law, which addresses the

  difference in crack cocaine and powder cocaine under the Sentencing Guidelines. Lastly,

  petitioner requests an evidentiary hearing on these matters.




                                                      3
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 4 of 11 PageID #: 771




         In its response to the motion, the Government asserts that under Fourth Circuit law,

  counsel’s failure to file a notice of appeal when requested to do so is per se ineffective assistance

  and that an evidentiary hearing is appropriate for this issue. However, the government contends

  that petitioner’s counsel was not ineffective for not moving for the Rule 35 motion, as defense

  counsel has no legal authority to so. The Government further clarifies that petitioner did not

  work as a confidential informant to receive substantial assistance, but received a sentence

  reduction under the safety vale and for acceptance of responsibility. Finally, the Government

  contends that petitioner’s request for relief based on anticipated Congressional action is

  premature and moot.

  D.     Recommendation

         Based upon a review of the record, the undersigned recommends that the petitioner’s §

  2255 motion be denied and dismissed from the docket because petitioner knowingly,

  intelligently, and voluntarily waived the right to collaterally attack the sentence with the

  exception of an evidentiary hearing to determine whether petitioner requested his attorney to file

  an appeal and whether counsel ignored or refused instructions.

                                            III. ANALYSIS

  A.     Waiver

         “[T]he guilty plea and the often concomitant plea bargain are important components of

  this country’s criminal justice system. Properly administered, they can benefit all concerned.”

  Blackledge v. Allison, 431 U.S. 63, 71 (1977). However, the advantages of plea bargains “can be

  secure . . . only if dispositions by guilty plea are accorded a great measure of finality.” Id. “To

  this end, the Government often secures waivers of appellate rights from criminal defendants as

  part of their plea agreement.” United States v. Lemaster, 403 F.3d 216, 220 (4th Cir. 2005).




                                                    4
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 5 of 11 PageID #: 772




          In United States v. Attar, 38 F.3d 727 (4th Cir. 1994), the Fourth Circuit found that “a

  waiver-of-appeal-rights provision in a valid plea agreement is enforceable against the defendant

  so long as it is the result of a knowing and intelligent decision to forgo the right to appeal.” Attar

  at 731. The Fourth Circuit then found that whether a waiver is knowing and intelligent “depends

  upon the particular facts and circumstances surrounding [its making], including the background,

  experience, and conduct of the accused.” Id. After upholding the general validity of a waiver-of-

  appeal-rights provision, the Fourth Circuit noted that even with a waiver-of-appeals-rights

  provision, a defendant may obtain appellate review of certain limited grounds. Id. at 732. For

  example, the Court noted that a defendant “could not be said to have waived his right to appellate

  review of a sentence imposed in excess of the maximum penalty provided by statute or based on

  a constitutionally impermissible factor such as race.” Id. Nor did the Court believe that a

  defendant “can fairly be said to have waived his right to appeal his sentence on the ground that

  the proceedings following the entry of the guilty plea were conducted in violation of the Sixth

  Amendment right to counsel.” Id.

          Subsequently, in United States v. Lemaster, supra, the Fourth Circuit saw no reason to

  distinguish between waivers of direct appeal rights and waivers of collateral attack rights.

  Lemaster, 403 F.3d at 220. Therefore, like waiver-of-appeal-rights provision, the Court found

  that the waiver of the right to collaterally attack a sentence is valid as long as it is knowing and

  voluntary. Id. And, although, the Court expressly declined to address whether the same

  exceptions apply since Lemaster failed to make such an argument, the court stressed that it “saw

  no reason to distinguish between waivers of direct-appeal rights and waivers of collateral-attack

  rights.” Id. at n. 2.




                                                    5
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 6 of 11 PageID #: 773




         Based on these cases, it appears that ineffective assistance of counsel claims are barred

  by a valid waiver, to the extent that the facts giving rise to the claims occurred prior to the

  defendant entering his guilty plea. Only claims arising after the entry of the guilty plea may fall

  outside the scope of the waiver. Lemaster, 403 F.3d at 732 (it cannot be fairly said that a

  defendant “waived his right to appeal his sentence on the ground that the proceedings following

  entry of the guilty plea were conducted in violation of the Sixth Amendment right to counsel, for

  a defendant’s agreement to waive appellate review of his sentence is implicitly conditioned on

  the assumption that the proceedings following entry of the plea will be conducted in accordance

  with constitutional limitations.”)

         Therefore, when reviewing an ineffective assistance of counsel claim in a case where

  there is a waiver of collateral-attack rights in a plea agreement, we must first determine whether

  there is valid waiver. In doing so,

                   The validity of an appeal waiver depends on whether the defendant
                   knowingly and intelligently agreed to waive the right to appeal.
                   Although this determination is often made based on adequacy of
                   the plea colloquy -- specifically, whether the district court
                   questioned the defendant about the appeal waiver – the issue
                   ultimately is evaluated by reference to the totality of the
                   circumstances. Thus, the determination must depend, in each case,
                   upon the particular facts and circumstances surrounding that case,
                   including the background, experience, and conduct of the accused.

  United States v. Blick, 408 F.3d 162, 169 (4th Cir. 2005) (internal citations and quotations

  omitted).

  In other words, the Court must examine the actual waiver provision, the plea agreement as a

  whole, the plea colloquy, and the defendant’s ability to understand the proceedings. Id. If the

  Court finds that the waiver is valid, any IAC claims arising prior to the plea agreement are barred

  by the waiver.




                                                    6
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 7 of 11 PageID #: 774




         As to any IAC claims made regarding an attorney’s action, or lack thereof, after the plea

  agreement, the Fourth Circuit has stated, “[w]e do not think the general waiver of the right to

  challenge” a sentence on the ground that “the proceedings following entry of the guilty plea –

  including both the sentencing hearing itself and the presentation of the motion to withdraw their

  pleas – were conducted in violation of their Sixth Amendment right to counsel.” Lemaster, 403

  F.3d at 732-33. Therefore, upon first blush it appears that IAC claims arising after the guilty plea

  and/or during sentencing, are not barred by a general waiver-of appeal rights.

         However, several courts have distinguished IAC claims raised in a § 2255 case, from

  those raised on direct appeal. In Braxton v. United States, 358 F.Supp.2d 497 (W.D Va. 2005),

  the Western District of Virginia noted that although the Fourth Circuit has yet to define the scope

  of waiver of collateral rights, several courts have held that § 2255 waivers should be subject to

  the same conditions and exceptions applicable to waivers of the right to file a direct appeal.

  Braxton at 502 (citing United States v. Cannady, 283 F.3d 641,645 n. 3 (4th Cir. 2000)

  (collecting cases); Butler v. United States, 173 F.Supp.2d 489, 493 (E.D. Va. 2001)).

  Nonetheless, the Western District of Virginia, distinguished the types of IAC claims available on

  direct appeal from those available in a § 2255 motion. Specifically, the Court noted:

                        Appellate courts rarely hear ineffective assistance of
                 counsel claims on direct review. Indeed, ‘[i]t is well settled that a
                 claim of ineffective assistance should be raised in a 28 U.S.C. §
                 2255 motion in the district court rather than on direct appeal,
                 unless the record conclusively shows ineffective assistance.’
                 United States v. King, 119 F.3d 290, 295 (4th Cir. 1997).
                 Therefore, the waiver exception recognized in Attar applies only to
                 a very narrow category of cases. In contrast, a rule that defendants
                 are unable to waive their right to bring an ineffective assistance
                 claim in a § 2255 would create a large exception to the scope of §
                 2255 waivers. In fact, such an exception would render all such
                 waivers virtually meaningless because most habeas challenges can
                 be pressed into the mold of a Sixth Amendment claim on collateral
                 review. The Fifth Circuit has recognized this dynamic by noting



                                                   7
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 8 of 11 PageID #: 775




                that ‘[i]f all ineffective assistance of counsel claims were immune
                from waiver, any complaint about process could be brought in a
                collateral attack by merely challenging the attorney’s failure to
                achieve the desired result. A knowing and intelligent waiver should
                not be so easily evaded.’ United States v. White, 307 F.3d 336, 344
                (5th Cir. 2002).
  Braxton at 503.

          The Western District of Virginia further noted that the Tenth Circuit has also

  distinguished collateral-attack waivers from the situation in Attar and that the Fourth Circuit’s

  holding in United States v. Broughton-Jones, 71 F.3d 1143,1147 (4th Cir. 1995), also supports

  such distinction. Braxton at 503, n. 2. Finally, the Braxton Court found it persuasive that the

  majority of circuits to have confronted this question “have held that collateral attacks claiming

  ineffective assistance of counsel that do not call into question the validity of the plea or the §

  2255 waiver itself, or do not related directly to the plea agreement or the waiver, are waivable.”

  Id. at 503. (collecting cases).

          In this case, petitioner asserts that he requested his counsel to appeal the errors made at

  his sentencing, but that counsel failed to respond to his request. Therefore, petitioner asserts

  counsel was per se ineffective for failing to file a notice of appeal as instructed. As held in

  United States v. Poindexter, 2007 U.S. App. LEXIS 15360 (4th Cir. 2007) an evidentiary hearing

  is required in such cases to determine whether the petitioner unequivocally instructed his

  attorney to file a notice of appeal or, if his attorney was not so instructed, the court will

  determine if petitioner met his burden of showing that: (1) his attorney had a duty to consult

  under Roe v. Flores-Ortega, 528 U.S. 470 (2000); (2) his attorney failed to fulfill his consultation

  obligations; and (3) he was prejudiced by his attorney’s failure to fulfill these obligations.

          Accordingly, I recommend this motion be denied on all grounds except the allegation of

  failure to file notice of appeal hereinafter addressed.




                                                     8
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 9 of 11 PageID #: 776




  B.      Failure to File Notice of Appeal

          Petitioner asserts that counsel was ineffective for failing to file an appeal of his amended

  sentence. The Fourth Circuit Court of Appeals has held that “a criminal defense attorney’s

  failure to file a notice of appeal when requested by his client deprives the defendant of his Sixth

  Amendment right to the assistance of counsel, notwithstanding that the lost appeal may not have

  had a reasonable probability of success.” United States v. Peak, 992 F.2d 39, 42 (4th Cir. 1993).

  In rendering this decision, the Court opined:

                    Persons convicted in federal district courts have a right to a direct
                    appeal. Coppedge v. United States, 369 U.S. 438, 82 S.Ct.917, 8
                    L.E.2d 21 (1962). In addition, the Sixth Amendment right to
                    counsel extends to the direct appeal, Douglas v. California, 372
                    U.S. 353, 83 S.Ct. 917, 8 L.Ed.2d 811 (1963), and it obligates the
                    attorney to file the appeal and identify possible issues for the court
                    even if, in the attorney’s opinion, those issues are not meritorious.
                    Anders v. California, 386 U.S.738, 87 S.Ct. 1396, 18 L.Ed.2d 493
                    (1967).
  Id. at 41.

          Further, in Roe v. Flores-Ortega, 528 U.S. 470 (2000), the United States Supreme Court

  recognized that “[i]f counsel has consulted with the defendant, the question of deficient

  performance is easily answered: Counsel performs in a professionally unreasonable manner only

  by failing to follow the defendant’s express instructions with respect to an appeal.” Flores-

  Ortega, at 478.

          In this case, petitioner asserts that he tried to appeal the errors made at his sentencing, but

  that counsel failed to respond to his requests. Therefore, petitioner asserts counsel was per se

  ineffective for failing to file a notice of appeal as instructed. The Government agrees that

  counsel’s failure to file a notice of appeal when requested to do so is per se ineffective

  assistance. The Government further states that based upon the affidavit of the petitioner alleging

  that he requested that an appeal be filed, a genuine issue of material fact exists concerning the



                                                      9
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 10 of 11 PageID #: 777




  effective assistance of counsel. The Government asserts that an evidentiary hearing is

  appropriate on this issue.

         Accordingly, because the petitioner’s motion and the Government’s response establish

  that there is a genuine issue of material fact, I find that an evidentiary hearing is necessary to

  determine whether petitioner requested his attorney file an appeal and whether counsel ignored

  or refused such instructions. See 28 U.S.C. § 2255 (providing in pertinent part that “[u]nless the

  motion and the files and records of the case conclusively show that the prisoner is entitled to no

  relief, the court shall cause notice thereof to be served upon the United States attorney, grant a

  prompt hearing thereon, determine the issues and make findings of fact and conclusions of law

  with respect thereto.”); see also United States v. Witherspoon, 231 F.3d 923 (4th Cir. 2000).

         An evidentiary hearing, solely on the issue of whether petitioner instructed his counsel to

  file an appeal shall be held at 10 am, September 6, 2007, in the United States Magistrate Judge

  Courtroom, Room 433, 4th Floor, U.S. Courthouse, Wheeling, West Virginia.

         Petitioner shall appear by telephone from his place of incarceration. Any other party,

  counsel or witness who resides or whose principal office is more than 40 miles from the

  Wheeling point of court may appear by telephone.

         Brendan S. Leary, Esq. is appointed to represent petitioner at the evidentiary hearing.

                                         IV. RECOMMENDATION

         Based upon a review of the record, the undersigned recommends that the petitioner’s

  §2255 motion be denied and dismissed from the docket because petitioner knowingly,

  intelligently, and voluntarily waived the right to collaterally attack the sentence with the

  exception of an evidentiary hearing to determine whether petitioner requested his attorney to file

  an appeal and whether counsel ignored or refused instructions.




                                                    10
Case 5:05-cr-00041-FPS-JES Document 183 Filed 07/09/07 Page 11 of 11 PageID #: 778




         Within ten (10) days after being served with a copy of this report and recommendation,

  any party may file with the Clerk of Court written objections identifying those portions of the

  recommendation to which objection is made and the basis for such objections. A copy of any

  objections shall also be submitted to the Honorable Frederick P. Stamp, Jr., United States District

  Judge. Failure to timely file objections to this recommendation will result in waiver of the right

  to appeal from a judgment of this Court based upon such recommendation. 28 U.S.C. §

  636(b)(1); Thomas v. Arn, 474 U.S. 140 (1985); Wright v. Collins, 766 F.2d 841 (4th Cir. 1985):

  United States v. Schronce, 727 F.2d 91 (4th Cir. 1984), cert. denied, 467 U.S. 1208 (1984).

         The Clerk is directed to mail a copy of this Report and Recommendation to the pro se

  plaintiff and counsel of record, as applicable.

         DATED: July 9, 2007



                                                         ______/s/ James. E. Seibert________
                                                         JAMES E. SEIBERT
                                                         UNITED STATES MAGISTRATE JUDGE




                                                    11
